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4
     Attorney for Defendant
5    ZENON NOLASCO-SANCHEZ

6
                             IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:16-CR-155 TLN
10                                           )
                         Plaintiff,          )   STIPULATION AND ORDER CONTINUING
11                                           )   JUDGMENT AND SENTENCING
     vs.                                     )
12                                           )   Date: February 1, 2018
     GUZMAN-JUAREZ et al.,                   )   Judge: Honorable Troy L. Nunley
13                                           )
                         Defendants.         )
14                                           )

15

16         The parties hereby stipulate the following:

17
           1. Judgment and sentencing in this matter is presently set for January
18
              4, 2018.   Counsel for the parties request the date for judgment and
19
              sentencing be continued to February 1, 2018 at 9:30 a.m.
20
              Assistant U.S. Attorney Owen Roth has been advised of this request
21
              and has no objection.    U.S. Probation has also been advised of this
22
              request.   The parties request the Court adopt the following schedule
23
              pertaining to the presentence report:
24
              Judgment and Sentencing date:                                  2/1/18
25
              Reply, or Statement of Non-Opposition:                         1/25/18
26
              Motion for Correction of the Presentence Report
27            Shall be filed with the Court and served on the
              Probation Officer and opposing counsel no later
28            than:                                                          1/18/18
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1
               The Presentence Report shall be filed with the
2              Court and disclosed to counsel no later than:                      n/a

3              Counsel’s written objections to the Presentence
               Report Shall be delivered to the probation officer
4              and opposing Counsel no later than:                                n/a

5              The Presentence Report shall be filed with the
               Court And disclosed to counsel no later than:                      n/a
6
     IT IS SO STIPULATED.
7

8    Dated:   December 27, 2017                   /s/ Dina L. Santos
                                                  DINA L. SANTOS
9                                                 Attorney for Defendant
                                                  Pedro Nolasco-Sanchez
10

11   Dated:   December 27, 2017                   /s/ Toni L. White
                                                  TONI L. WHITE
12                                                Attorney for Defendant
                                                  Fidel Nolasco-Sanchez
13

14   Dated:   December 27, 2017                   /s/ John R. Manning
                                                  JOHN R. MANNING
15                                                Attorney for Defendant
                                                  Zenon Nolasco-Sanchez
16

17   Dated:   December 27, 2017                   /s/ Kelly Babineau
                                                  Kelly Babineau
18                                                Attorney for Defendant
                                                  Domingo Nolasco-Sanchez
19

20
     Dated:   December 27, 2017                   Phillip A. Talbert
21                                                Acting United States Attorney

22                                                by: /s/ Owen Roth
                                                  OWEN ROTH
23                                                Assistant United States Attorney

24
                                          ORDER
25
     IT IS SO FOUND AND ORDERED this 27th day of December, 2017.
26

27

28


                                                   Troy L. Nunley
                                                   United States District Judge
